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                                                                         J .")            I ' ,■ J,. 1
                        IN THE UNITED STATES DISTRICT COURT                      .'..'.M-uMi L'iV.
                       FOR THE   SOUTHERN DISTRICT          OF GEORGIA
                                    SAVANNAH DIVISION


UNITED       STATES    OF AMERICA                *


        V.                                       *          OR 402-282
                                                 ir


ANTONIO       DECORE    SAMUEL                   *




                                       ORDER




        In the captioned criminal matter,                   Defendant Antonio Decora

Samuel has filed a motion to reduce his sentence based upon Section

404 of the First Step Act of 2018, Publ. L. No. 115-391, 132 Stat.

5194.        The Government opposes the motion.                The Court resolves the

matter       as   follows.


        In July 2002,         Samuel was arrested on a violation warrant in

his apartment,          at which time a search yielded the discovery of

143.06 grams of cocaine base                ("crack cocaine")       and 83.8 grams of

cocaine       hydrochloride.         Samuel      was     subsequently    indicted by              a

federal grand jury for possession with intent to distribute over

50 grams of crack cocaine and a quantity of cocaine hydrochloride,

in violation of 21 U.S.C. §§ 841(a) (1) and (b) (1) (A) .                        In February

2003,        Samuel    pled   guilty   to    a        lesser-included    offense,         i.e.,

possession with intent to distribute five grams or more of crack

cocaine and a quantity of cocaine hydrochloride.                            At the time.
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